      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 1 of 40



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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SOLID OAK SKETCHES, LLC,                          CASE NO. 1:16-cv-724(LTS)(RLE)

                       Plaintiff-Counter-         ECF Case
                       Defendant,

       v.

2K GAMES, INC. AND TAKE-TWO
INTERACTIVE SOFTWARE, INC.,

                       Defendants-
                       Counterclaimants.



                    DEFENDANTS’ ANSWER AND COUNTERCLAIMS

       Defendants and Counterclaimants 2K Games, Inc. (“2K”) and Take-Two Interactive

Software, Inc. (“Take-Two”) (collectively, “Defendants” or “Counterclaimants”) created a series

of video games set in a virtual world that realistically depict NBA players playing simulated

basketball games. Plaintiff and Counter-Defendant Solid Oak Sketches, LLC (“Solid Oak”)

claims to be the exclusive licensee of six tattoos that appear on three players depicted in

Defendants’ games—LeBron James, Eric Bledsoe, and Kenyon Martin—and asserts that, by




                                                -1-
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 2 of 40



accurately depicting the players with their tattoos as a negligible component of Defendants’

much larger work, Defendants somehow infringed the tattoos’ copyrights.

        Copyright law does not stretch so far. Indeed, if Solid Oak were correct, it would mean

that anyone appearing in public, on a television program, or in an advertisement would need to

license the display of their tattoos. This is not the law and, if it were, it would be an

encroachment on basic human rights. As stated below, in this case, Defendants’ actions are

justified by various defenses. In particular, Defendants’ creation of the NBA 2K video game

series constitutes de minimis use and fair use under the Copyright Act. Moreover, counsel for

Solid Oak and the tattooists made material misrepresentations concerning the tattoos to the

Copyright Office, which constitutes fraud on the Copyright Office. Indeed, for at least one of the

tattoos, the deposit copy presented to the Copyright Office did not depict the work that was

registered, but rather a different tattoo created years later.

        For these reasons, Defendants, by and through their attorneys, Kirkland & Ellis LLP,

hereby answer the First Amended Complaint of Plaintiff Solid Oak Sketches, LLC (“Solid

Oak”), dated April 6, 2016, (“Amended Complaint”) as follows:

                   NATURE OF ACTION, JURISDICTION, AND VENUE

        1.      State that the allegations set forth in Paragraph 1 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, state that the Amended Complaint purports to assert a claim for copyright

infringement.

        2.      State that the allegations set forth in Paragraph 2 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, state that the Amended Complaint seeks injunctive relief and damages.



                                                  -2-
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 3 of 40



       3.      State that the allegations set forth in Paragraph 3 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, admits that Plaintiff’s Complaint purports to assert claims against

Defendants based on the Copyright Act.

       4.      State that the Amended Complaint does not contain a Paragraph 4.

       5.      State that the allegations set forth in Paragraph 5 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, admit that Take-Two’s principal place of business is in the Southern

District of New York. Defendants further state that there are only two defendants that have been

served in this action—Take-Two and 2K—and thus deny the allegation that there are two “other”

defendants in addition to Take-Two.

       6.      State that the allegations set forth in Paragraph 6 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, deny the allegations set forth in Paragraph 6 of the Amended Complaint.

       7.      Deny knowledge or information sufficient to form a belief as to the allegations set

forth in Paragraph 7 of the Amended Complaint.

       8.      Deny knowledge or information sufficient to form a belief as to the allegations set

forth in Paragraph 8 of the Amended Complaint because they are not aware of an entity named

“Visual Concepts, Inc.” Defendants also note that no entity named Visual Concepts, Inc. is

related to their businesses and that no entity related to their businesses other than Take-Two and

2K has been served in this action.

       9.      Admit the allegations set forth in Paragraph 9 of the Amended Complaint.

       10.     Admit the allegations set forth in Paragraph 10 of the Amended Complaint.



                                               -3-
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 4 of 40



          11.   State that the allegations set forth in Paragraph 11 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, deny the allegations set forth in Paragraph 11, except admit that NBA 2K16

was released on September 29, 2015 and that it is the newest version of the NBA 2K video game

series.

          12.   Admit the allegations set forth in Paragraph 12 of the Amended Complaint.

          13.   Deny the allegations set forth in Paragraph 13 of the Amended Complaint, except

state that, to the extent that the Complaint quotes from the article cited in Footnote 3, the article

speaks for itself.

          14.   State that, to the extent that Paragraph 14 of the Amended Complaint quotes from

the article cited in Footnote 4, the article speaks for itself.

          15.   Deny the allegations set forth in Paragraph 15 of the Amended Complaint, except

admit that 2K has promoted NBA 2K16’s MyCAREER mode, one component of which allows

players to create MyPLAYER characters with certain tattoos, but note that the tattoos available

in MyCAREER mode do not include the tattoos at issue in this litigation.

          16.   Deny the allegations set forth in Paragraph 16 of the Amended Complaint, except

state that, to the extent the Amended Complaint quotes from the article cited in Footnote 6, the

article speaks for itself.

          17.   Admit the allegations set forth in Paragraph 17 of the Amended Complaint.

          18.   Admit the allegations set forth in Paragraph 18 of the Amended Complaint.

          19.   Admit the allegations set forth in Paragraph 19 of the Amended Complaint, but

state that the revenue increase was due primarily to an increase in revenue from video games

other than NBA 2K16.



                                                   -4-
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 5 of 40



       20.     Deny the allegations set forth in Paragraph 20 of the Amended Complaint.

       21.     Deny the allegations set forth in Paragraph 21 of the Amended Complaint, except

admit that Solid Oak sent a letter to Daniel Emerson, dated July 7, 2015, which claimed that

Take-Two’s NBA 2K video games infringed copyrighted tattoo designs.

       22.     Deny the allegations set forth in Paragraph 22 of the Amended Complaint, except

admit that the letter attached to the Complaint as Exhibit B dated July 28, 2015 is addressed and

was sent to Peter Welch.

       23.     State that the allegations set forth in Paragraph 23 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, deny the allegations set forth in Paragraph 23, except admit that Defendants

requested documentation of claims made by Solid Oak, Defendants did not agree to Solid Oak’s

settlement terms, and Defendants released NBA 2K16.

       24.     State that the allegations set forth in Paragraph 24 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, state that 17 U.S.C. § 102 speaks for itself.

       25.     State that the allegations set forth in Paragraph 25 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary.

       26.     State that the allegations set forth in Paragraph 26 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, state that the Feist Publications, Inc. v. Rural Telephone Service Co.

opinion speaks for itself.

       27.     State that the allegations set forth in Paragraph 27 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any



                                                -5-
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 6 of 40



response is required, deny knowledge or information sufficient to form a belief as to the

allegations set forth in Paragraph 27 of the Amended Complaint, except admit that each

document attached to the Complaint as Exhibits C, G, and I is titled “Tattoo Art Exclusive

License Agreement (Artwork).”

        28.     State that the allegations set forth in Paragraph 28 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, deny knowledge or information sufficient to form a belief as to the

allegations set forth in Paragraph 28 of the Amended Complaint, and state that 17 U.S.C. § 101

speaks for itself.

        29.     State that the allegations set forth in Paragraph 29 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, state that 17 U.S.C. § 102 speaks for itself.

        30.     State that the allegations set forth in Paragraph 30 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, state that 17 U.S.C. § 101 speaks for itself.

        31.     State that the allegations set forth in Paragraph 31 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, deny knowledge or information sufficient to form a belief as to the

allegations set forth in Paragraph 31 of the Amended Complaint, and state that 17 U.S.C. § 102

and the materials cited in the Amended Complaint speak for themselves. Defendants also note

that Professor David Nimmer concluded in the declaration from the Whitmill case cited by Solid

Oak that “human flesh cannot serve as the ‘medium of expression’ that Congress intended to

embody legally protectable authorship” and, thus, a “claim of copyright over a tattoo . . . must be



                                                -6-
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 7 of 40



summarily rejected.” Declaration of David Nimmer ¶ 25, Whitmill v. Warner Bros. Entm’t, Inc.,

No. 4:11 Civ. 752 (E.D. Mo.).

       32.     State that the allegations set forth in Paragraph 32 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, state that the news article from which Solid Oak quotes speaks for itself.

Defendants also note that a written opinion was not issued in the Whitmill case on the subject of

tattoo copyrightability.

       33.     Deny knowledge or information sufficient to form a belief as to the allegations set

forth in Paragraph 33 of the Amended Complaint, except admit that the document attached to the

Complaint as Exhibit C is titled “Tattoo Art Exclusive License Agreement (Artwork)” and the

document attached to the Complaint as Exhibit D is dated June 8, 2015 and titled “Certificate of

Registration,” and state that the documents speak for themselves.

       34.     Deny knowledge or information sufficient to form a belief as to the allegations set

forth in Paragraph 34 of the Amended Complaint, except admit that the document attached to the

Complaint as Exhibit E is dated June 8, 2015 and titled “Certificate of Registration,” and state

that the document speaks for itself.

       35.     Deny knowledge or information sufficient to form a belief as to the allegations set

forth in Paragraph 35 of the Amended Complaint, except admit that the document attached to the

Complaint as Exhibit F is dated July 24, 2015 and titled “Certificate of Registration,” and state

that the document speaks for itself.

       36.     Deny knowledge or information sufficient to form a belief as to the allegations set

forth in Paragraph 36 of the Amended Complaint, except admit that the document attached to the

Complaint as Exhibit G is titled “Tattoo Art Exclusive License Agreement (Artwork)” and the



                                               -7-
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 8 of 40



document attached to the Complaint as Exhibit H is dated June 8, 2015 and titled “Certificate of

Registration,” and state that the documents speak for themselves.

       37.     Deny knowledge or information sufficient to form a belief as to the allegations set

forth in Paragraph 37 of the Amended Complaint, except admit that the document attached to the

Complaint as Exhibit I is titled “Tattoo Art Exclusive License Agreement (Artwork)” and the

document attached to the Complaint as Exhibit J is dated July 24, 2015 and titled “Certificate of

Registration,” and state that the documents speak for themselves.

       38.     Deny knowledge or information sufficient to form a belief as to the allegations set

forth in Paragraph 38 of the Amended Complaint, except admit that the document attached to the

Complaint as Exhibit K is dated July 24, 2015 and titled “Certificate of Registration,” and state

that the document speaks for itself.

       39.     Repeat and reallege each and every response to Paragraphs 1 through 38 of the

Amended Complaint as if fully set forth herein.

       40.     State that the allegations set forth in Paragraph 40 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, state that Solid Oak’s Amended Complaint purports to assert a claim for

copyright infringement against Defendants.

       41.     State that the allegations set forth in Paragraph 41 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, deny the same.

       42.     State that the allegations set forth in Paragraph 42 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, deny the same.



                                               -8-
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 9 of 40



       43.     State that the allegations set forth in Paragraph 43 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, deny the same.

       44.     State that the allegations set forth in Paragraph 44 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, deny the same.

       45.     State that the allegations set forth in Paragraph 45 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, deny the same pursuant to the Court’s August 2, 2016 order granting

Defendants’ motion to dismiss Solid Oak’s claim for statutory damages.

       46.     State that the allegations set forth in Paragraph 46 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, deny the same pursuant to the Court’s August 2, 2016 order granting

Defendants’ motion to dismiss Solid Oak’s claim for attorney’s fees.

       47.     State that the allegations set forth in Paragraph 47 of the Amended Complaint are

conclusions of law as to which no responsive pleading is necessary, but that to the extent any

response is required, deny the same.

                        DEFENDANTS’ AFFIRMATIVE DEFENSES

                                     FIRST DEFENSE
                               (FAILURE TO STATE A CLAIM)

       48.     Solid Oak’s claims fail, in whole or in part, because the Amended Complaint, and

each and every claim stated therein, fails to state a claim upon which relief can be granted.




                                               -9-
       Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 10 of 40



                                      SECOND DEFENSE
                                      (DE MINIMIS USE)

        49.    Solid Oak’s claims are barred, in whole or in part, by the doctrine of de minimis

use.

                                        THIRD DEFENSE
                                          (FAIR USE)

        50.    Solid Oak’s claims are barred, in whole or in part, by the doctrine of fair use. See

17 U.S.C. § 107.

                                      FOURTH DEFENSE
                                         (LICENSE)

        51.    Solid Oak’s claims are barred, in whole or in part, by license.

                                    FIFTH DEFENSE
                              (CONSENT, WAIVER, ESTOPPEL)

        52.    Solid Oak’s claims are barred, in whole or in part, by consent, waiver, and/or

estoppel.

                                       SIXTH DEFENSE
                                    (NON-INFRINGEMENT)

        53.    Solid Oak’s claims are barred, in whole or in part, because Defendants do not and

have not infringed the copyrights at issue, including without limitation pursuant to the doctrines

of scènes à faire, merger and/or other limits on the scope of copyright protection.

                                  SEVENTH DEFENSE
                           (FRAUD ON THE COPYRIGHT OFFICE)

        54.    Solid Oak’s claims are barred, in whole or in part, by the doctrine of fraud on the

U.S. Copyright Office.

                                      COUNTERCLAIMS

        Counterclaimants for their counterclaims hereby allege against Solid Oak as follows:




                                               - 10 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 11 of 40



                      NATURE OF THE ACTION AND RELIEF SOUGHT

       1.      Solid Oak alleges that Counterclaimants have infringed copyrights that subsist in

six tattoos (the “Tattoos,” and each a “Tattoo”). Counterclaimants’ actions, however, constitute

a de minimis use as the Tattoos are displayed for short periods of time, only fleetingly, and often

out of focus in a manner that is hard to see. Counterclaimants’ actions also constitute fair use of

the tattoos, which is not a copyright infringement. See 17 U.S.C. § 107. Moreover, material

misrepresentations were made to the U.S. Copyright Office in obtaining the certificate of

registration for at least one of the tattoos that Solid Oak has asserted, which constitutes fraud on

the Copyright Office. Accordingly, an actual controversy has arisen and now exists between

Counterclaimants and Solid Oak, which may be resolved by this court.

                                              PARTIES

       2.      Counterclaimant Take-Two Interactive Software, Inc. is a Delaware corporation

having its principal place of business in the State of New York and is qualified to do business

and is doing business in the State of New York and in this judicial district.

       3.      Counterclaimant 2K Games, Inc. is a Delaware corporation having its principal

place of business in the State of California, and is qualified to do business and is doing business

in the State of New York and in this judicial district.

       4.      Counterclaim-Defendant Solid Oak Sketches, LLC is a Delaware limited liability

company that brought suit in this District.

                                  JURISDICTION AND VENUE

       5.      This counterclaim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and the

Declaratory Judgment Act, 28 U.S.C. §§ 2201–02. This Court has jurisdiction under 28 U.S.C.

§§ 1331 and 1338.



                                                - 11 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 12 of 40



       6.      This Court has personal jurisdiction over Solid Oak because Solid Oak has chosen

to avail itself of the laws and protections of this Court, and Counterclaimants’ claims arise from

the same series of operative facts that Solid Oak alleges.

       7.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1400.

                                  FACTUAL BACKGROUND

THE NBA 2K VIDEOGAME

       8.      Counterclaimants develop, publish, and distribute video games, including the

sports series NBA 2K and WWE 2K.

       9.      The NBA 2K series is released annually.

       10.     Each release of NBA 2K depicts the sport of basketball with realistic renderings of

different NBA teams and their current rosters of individual players.

       11.     NBA 2K16 is the most recent release of the game. NBA 2K16 is available on PC,

Xbox One, Xbox 360, Playstation3, and PS4.

       12.     NBA 2K16 is a creative work that reflects creative choices in, among other things,

the selection of characters, settings, plot, graphics, music, and other game elements.

       13.     NBA 2K16 also realistically depicts real-life NBA players as part of the overall

video game.

       14.     Counterclaimants have permission to include the players’ names and likenesses in

NBA 2K16, including without limitation Messrs. James, Martin, and Bledsoe.

       Single and Multiplayer Gameplay

       15.     NBA 2K16 has several modes from which a user selects after the game launches

on the user’s gaming system.

       16.     In single player standard game mode, one user selects an NBA team with its

current team members, or selects individual players from different teams to create a custom

                                               - 12 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 13 of 40



team, and then plays that team against computer-controlled opposing teams in a simulation of a

complete game of basketball.

         17.   In the multiplayer standard game mode, two users can select NBA teams, or select

players for their respective teams, and then play each other in a simulated basketball game.

         18.   When composing and selecting teams, users are presented with a bright, black-

and red-toned roster through which users can scroll. The roster includes photographs of each

NBA player with his basketball statistics (e.g., position, points per game, offensive rebounds per

game, rebounds per game, assists per game, steals per game, blocks per game, turnovers per

game).

         19.   In addition to their ability to select real NBA players, game users may design their

own custom NBA players.

         20.   During simulated basketball gameplay, users control each NBA player, one at a

time. Users select which of the five NBA players to control, and can have the NBA player walk,

run, block, steal, pass, or shoot the ball. Just like in professional basketball games, users seek to

score the most points by making baskets.

         21.   During the game, commentators narrate what the players are doing, like

commentators narrate real NBA games.

         22.   In addition to the commentators, during these game-playing modes, the audio

includes cheering crowds, buzzers, and an intermittent musical soundtrack.

         23.   The game also generates replays of some players’ shots and moves.

         24.   NBA 2K is a comprehensive depiction of professional basketball.

         25.   NBA 2K includes up-to-date depictions of NBA players.

         26.   NBA 2K realistically depicts NBA players.



                                                - 13 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 14 of 40



       27.     NBA 2K also depicts arenas, audiences, basketballs, and hoops realistically.

       28.     As shown in the screenshots below, the perspective of gameplay in NBA 2K is

such that the user can see a large portion of the court, or the entire court, with multiple NBA

players visible so that the game user may manipulate them. Much of the game is seen from this

perspective, from various angles which shift automatically or manually:




                                     Story Mode Gameplay

       NBA 2K16’s Story Modes

       29.     In addition to the single player and multiplayer modes, which replicate NBA

basketball gameplay, NBA 2K16 includes story modes.

       30.     These story modes allow users to create their own fictional basketball player.




                                               - 14 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 15 of 40



        31.     While the player may be customized with various attributes, such as height,

weight, and hair color, as well as tattoos, the Tattoos asserted by Solid Oak cannot be added to a

customized character.

        32.     Thus, when the articles cited by Solid Oak in the Amended Complaint mention

the ability to select tattoos to add to characters within NBA 2K16, they are not referencing the

Tattoos at issue in this case.

        33.     The NBA 2K16 story modes allow customized players to interact with real-life

NBA players.

        34.     The story modes reflect myriad creative choices, including what to include and

how to depict it in the game, specific game elements, music, and plot.

        35.     The “MyCareer” mode of the game, for example, is a fictional story, complete

with its own characters, plot, settings, and themes.

        36.     The MyCareer mode allows a game user to create a “MyPlayer” character (by

scanning in his or her own likeness, or selecting features) and follow that character’s

development from high school basketball to the NBA.

        37.     The story for this mode was written and directed by famous Hollywood

filmmaker Spike Lee and is called “Livin’ Da Dream.”

        38.     The MyCareer mode plays like a film, in which the player’s MyPlayer character is

nicknamed Freq, has a twin sister named Cece and a best friend named Vic, and lives in Harlem.

The progression of the story is punctuated by shortened basketball games in which the user

participates, as the user would participate in the single player mode. The MyPlayer character

begins in high school and plays three games there, selects a college and plays four games there,

and then is drafted to the NBA after one year of college. The user plays eight games in the



                                               - 15 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 16 of 40



MyPlayer character’s rookie season. There is personal and professional drama interwoven

between games.




       39.     After this rookie season, the MyPlayer character is then a free agent, and

negotiates with several NBA teams on salary, noted in “Virtual Currency.” Thereafter, the

MyPlayer character plays games, earns more Virtual Currency through playing well, and users

have the ability to buy clothes, personal gym upgrades, and better attributes with the earned

Virtual Currency. Users make more connections with other in-game personalities and become

more successful over time.

       40.     The “MyGM” mode is similarly fictional. In this mode, the user is the general

manager for a team. The user checks the wear-and-tear of the team’s players, handles

conversations with players about trades or desires for more playing time, builds trust with the

team’s coaches and staff, and evaluates potential assistant coaches.

       41.     In the MyGM mode, the user strategizes how to attract successful NBA players,

and may make decisions like moving the team to a different city with the requisite approvals. If

the user decides to move the team, the user will design a stadium, uniforms, and a new logo.

       Marketing for NBA 2K

       42.     NBA 2K is marketed by emphasizing its gameplay.


                                              - 16 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 17 of 40



       43.     NBA 2K is marketed by highlighting its story modes.

CREATION OF THE TATTOOS

       44.     In the Amended Complaint, Solid Oak asserts copyrights in six tattoos against

Counterclaimants.

       45.     Upon information and belief, each Tattoo was created by a tattooist with

contributions and guidance from Mr. Bledsoe, Mr. James, or Mr. Martin.

       46.     Each Tattoo was created to reflect the personal expression of Mr. Bledsoe,

Mr. James, and Mr. Martin.

       47.     The Tattoos are imbued with special meaning attributable to the individuals on

which they were inked.

       48.     Upon information and belief, each of the Tattoos is a custom tattoo intended only

for the player on which it was inked.

       330 and Flames Tattoo Artwork

       49.     Solid Oak asserts that one of the Tattoos that it registered with the Copyright

Office is titled “330 and Flames Tattoo Artwork.”

       50.     As shown from the three images of Mr. James’ forearm that were submitted to the

Copyright Office as deposit copies by counsel for Solid Oak and the tattooist, the tattoo is the

numbers 3, 3, and 0:




                                               - 17 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 18 of 40




       51.     According to the certificate of registration, “330 and Flames Tattoo Artwork” was

completed in 2002 and published on July 15, 2002.

       52.     The effective date of the certificate of registration for “330 and Flames Tattoo

Artwork” is June 8, 2015, which is approximately thirteen years after it was created.

       53.     Upon information and belief, because the tattoo was registered so many years

after its completion, images of Mr. James’ forearm were copied by Solid Oak from the Internet

to serve as the deposit copies for the Copyright Office.

       54.     Upon information and belief, the numbers “330” were selected for the tattoo

because 330 is the area code of Mr. James’s hometown Akron, Ohio.

       55.     Upon information and belief, Mr. James informed the tattooist of what to ink on

his arm, and the tattooist did so.

       Child Portrait

       56.     Solid Oak asserts that one of the Tattoos that it registered with the Copyright

Office is titled “Child Portrait Tattoo Artwork.”

                                               - 18 -
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 19 of 40



        57.      As shown from the image of Mr. James’ inner left forearm that was submitted to

the Copyright Office as a deposit copy by counsel for Solid Oak and the tattooist, the tattoo is a

portrait of a young child:




        58.      According to the certificate of registration, “Child Portrait Tattoo Artwork” was

completed in 2006 and published on May 1, 2006.

        59.      The effective date of the certificate of registration for “Child Portrait Tattoo

Artwork” is June 8, 2015, which is approximately nine years after it was created.

        60.      Upon information and belief, because the tattoo was registered so many years

after its completion, images of Mr. James’ forearm were copied from the Internet by Solid Oak

to serve as the deposit copies for the Copyright Office.

        61.      Upon information and belief, the child depicted in “Child Portrait Tattoo

Artwork” is Mr. James’s son, LeBron Jr. Mr. James got the tattoo to celebrate LeBron Jr.’s first

birthday.1

        62.      Upon information and belief, Mr. James provided a photo of Lebron Jr. and

informed the tattooist of what to ink on his arm, and the tattooist did so.

        63.      Upon information and belief, the Child Portrait tattoo was created through an

iterative process over the course of years.




1
    See http://nikelebron.net/lebron_james/tattoos/.

                                                       - 19 -
         Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 20 of 40



          64.   Upon information and belief, “Child Portrait Tattoo Artwork” was changed over

the years by different tattooists.

          65.   Upon information and belief, the portrait of Mr. James’s son on his left forearm

initially was a simple drawing of a child’s face, and was registered as such.

          66.   Upon information and belief, years later the tattoo was changed to add more

detail.

          67.   It is the tattoo with further detail that is visible in NBA 2K16, as shown below:




          68.   Upon information and belief, Justin Wright, the tattooist who initially inked the

child’s face on Mr. James’s arm, was not the tattooist who added further detail to the tattoo years

later.

          Lion’s Head

          69.   Solid Oak asserts that one of the Tattoos that it registered with the Copyright

Office is titled “Lion’s Head Tattoo Artwork.”

          70.   As shown from the two images of Mr. James’ right bicep that were submitted to

the Copyright Office as deposit copies by counsel for Solid Oak and the tattooist, the tattoo is a

drawing of the head of a lion:




                                                - 20 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 21 of 40




         71.   According to the certificate of registration, “Lion’s Head Tattoo Artwork” was

completed in 2000 and published on March 15, 2000.

         72.   The effective date of the certificate of registration for “Lion’s Head Tattoo

Artwork” is June 8, 2015, which is approximately 15 years after it was created.

         73.   Upon information and belief, because the tattoo was registered so many years

after its completion, images of Mr. James’ forearm were copied from the Internet by Solid Oak

to serve as the deposit copies for the Copyright Office.

         74.   Upon information and belief, Mr. James informed the tattooist of what to ink on

his arm, and the tattooist did so.

         75.    Upon information and belief, the lion head on Mr. James’s right bicep was

created initially in 2000, when Mr. James was 16 years old. At that time, the tattoo was a simple

drawing of a lion’s head wearing a crown, as pictured below in a high school photo of Mr.

James.




                                               - 21 -
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 22 of 40




        76.     Upon information and belief, years later the tattoo was changed such that, among

other things, the crown is no longer visible.

        77.     Upon information and belief, Shawn Rome, the tattooist who initially inked the

lion’s head on Mr. James’s arm when he was a teenager, was not the tattooist who added further

detail to the tattoo years later.

        78.     It is the tattoo with further detail that was submitted to the Copyright Office for

registration.

        79.     Upon information and belief, the tattoo that was submitted to the Copyright

Office for registration was the work of not just Mr. Rome but at least one other tattooist.

        80.     It is the changed tattoo that is visible in NBA 2K16.



                                                - 22 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 23 of 40



       Wizard

       81.     Solid Oak asserts that one of the Tattoos that it registered with the Copyright

Office is titled “Wizard.”

       82.     As shown from the two images of Mr. Martin’s left shoulder that were submitted

to the Copyright Office as deposit copies by counsel for Solid Oak and the tattooist, the tattoo is

a drawing of a grim reaper holding a basketball:




       83.     According to the certificate of registration, “Wizard” was completed in 1998 and

published on September 1, 1998.

       84.     The effective date of the certificate of registration for “Wizard” is July 24, 2015,

which is approximately 17 years after it was created.

       85.     Upon information and belief, because the tattoo was registered so many years

after its completion, images of Mr. Martin’s shoulder were copied from the Internet by Solid Oak

to serve as the deposit copies for the Copyright Office.




                                               - 23 -
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 24 of 40



        86.     Upon information and belief, this tattoo depicts a grim reaper holding a basketball

because, according to Mr. Martin, the tattoo signifies that he fears no one in the game and that he

is “the place layups go to die.”2

        87.     Upon information and belief, Mr. Martin informed the tattooist of what to ink on

his arm, and the tattooist did so.

        Basketball with Stars and Script

        88.     Solid Oak asserts that one of the Tattoos that it registered with the Copyright

Office is titled “Basketball with Stars and Script.”

        89.     As shown from the four images of Mr. Bledsoe’s right shoulder that were

submitted to the Copyright Office as deposit copies by counsel for Solid Oak and the tattooist,

the tattoo is a drawing of script on a scroll of paper, with two hands holding a basketball on top

of the scroll, with stars surrounding the basketball:




        90.     According to the certificate of registration, “Basketball with Stars and Script” was

completed in 2005 and published on April 1, 2005.




2
    See http://enquirer.com/editions/2000/01/20/spt_martins_d_where.html.

                                                    - 24 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 25 of 40



       91.     The effective date of the certificate of registration for “Basketball with Stars and

Script” is July 24, 2015, which is approximately 10 years after it was created.

       92.     Upon information and belief, because the tattoo was registered so many years

after its completion, images of Mr. Bledsoe’s shoulder were copied from the Internet by Solid

Oak to serve as the deposit copies for the Copyright Office.

       93.     Upon information and belief, Mr. Bledsoe informed the tattooist of what to ink on

his arm, and the tattooist did so.

       Clouds and Doves

       94.     Solid Oak asserts that one of the Tattoos that it registered with the Copyright

Office is titled “Script with a scroll, clouds, and doves.”

       95.     As shown from the three images of Mr. James’s right forearm that were submitted

to the Copyright Office as deposit copies, the tattoo is a drawing of clouds and doves:




                                             :

       96.     According to the certificate of registration, “Script with a scroll, clouds, and

doves” was completed in 2001 and published on December 15, 2001.

       97.     The effective date of the certificate of registration for “Script with a scroll, clouds,

and doves” is July 24, 2015, which is approximately 14 years after it was created.




                                                 - 25 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 26 of 40



       98.       Upon information and belief, because the tattoo was registered so many years

after its completion, images of Mr. James’ forearm were copied from the Internet by Solid Oak

to serve as the deposit copies for the Copyright Office.

       99.       Upon information and belief, Mr. James informed the tattooist of what to ink on

his arm, and the tattooist did so.

NBA PLAYERS ARE FREQUENTLY PHOTOGRAPHED

       100.      Professional basketball players are photographed for different reasons, and those

photographs appear in myriad copyrighted works.

       101.      NBA games are telecast.

       102.      NBA players appear in the telecasts of NBA games.

       103.      The Tattoos have been visible in some telecasts of NBA games.

       104.      NBA players are photographed and recorded playing basketball.

       105.      The Tattoos have been visible in some of the photographs and recordings of the

NBA players playing basketball.

       106.      Sports news outlets have shown images and video of Messrs. James, Bledsoe, and

Martin playing basketball.

       107.      The Tattoos have been visible in some of the images and videos shown by sports

news outlets.

       108.      Sports photographers have taken pictures of Messrs. James, Bledsoe, and Martin.

       109.      The Tattoos have been visible in some of the photographs taken by sports

photographers.

       110.      Paparazzi take pictures of some NBA players.

       111.      The Tattoos have been visible in some of the photographs taken by Paparazzi.



                                                - 26 -
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 27 of 40



           112.   Mr. James has been photographed by paparazzi, sometimes for inclusion in

commercial publications.

           113.   NBA players appear in advertisements for different products.

           114.   LeBron James has appeared in various advertisements over the years.

           115.   At times, when Mr. James has appeared in advertisements, his tattoos have been

displayed.

           116.   Mr. James has appeared in commercials.

           117.   At times, when Mr. James has appeared in commercials, his tattoos have been

visible.

           118.   Mr. James and Mr. Martin have appeared on the covers of magazines.

           119.   At times, when Mr. James has appeared on magazine covers, his tattoos have been

visible.

           120.   At times, when Mr. Martin has appeared on magazine covers, his tattoos have

been visible.

           121.   Messrs. James, Bledsoe, and Martin have appeared in public.

           122.   Some of the times that the players have appeared in public, the Tattoos have been

publicly displayed.

THE TATTOOS KNEW THAT THE TATTOOS WOULD BECOME PART OF THE
PLAYERS’ LIKENESSES

           123.   When the Tattoos were inked, the tattooists knew that the individuals that they

were inking would appear in public.

           124.   The tattooists also knew that the Tattoos would be publicly displayed.




                                                 - 27 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 28 of 40



       125.     Upon information and belief, Mr. Rome knew that Mr. James was a basketball

player when he inked “330 and Flames Tattoo Artwork”; “Lion’s Head Tattoo Artwork”; and

“Script with a scroll, clouds, and doves.”

       126.     Upon information and belief, when he inked each of Mr. James’ tattoos,

Mr. Rome knew that Mr. James likely would attempt to commercialize his likeness.

       127.     Upon information and belief, when Mr. Rome inked “330 and Flames Tattoo

Artwork”; “Lion’s Head Tattoo Artwork”; or “Script with a scroll, clouds, and doves” on Mr.

James, Mr. Rome never informed Mr. James that the display of the tattoos would require

additional compensation.

       128.     Upon information and belief, prior to 2015, Mr. Rome never asserted that display

of Mr. James’ tattoos required a license or permission from Mr. Rome.

       129.     Upon information and belief, Mr. Wright knew that Mr. James was a basketball

player when he inked “Child Portrait Tattoo Artwork.”

       130.     Upon information and belief, at that time, Mr. Wright knew that Mr. James likely

would attempt to commercialize his likeness.

       131.     Upon information and belief, when Mr. Rome inked “Child Portrait Tattoo

Artwork,” he did not inform Mr. James that the display of the tattoo would require additional

compensation.

       132.     Upon information and belief, prior to 2015, Mr. Wright never asserted that

display of Mr. James’ tattoos required a license or permission from Mr. Wright.

       133.     Upon information and belief, Mr. Cornett knew that Mr. Bledsoe was a basketball

player when he inked “Basketball with Stars and Script.”




                                               - 28 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 29 of 40



       134.     Upon information and belief, at that time, Mr. Cornett knew that Mr. Bledsoe

likely would attempt to commercialize his likeness.

       135.     Upon information and belief, when Mr. Cornett inked “Basketball with Stars and

Script,” he did not inform Mr. Bledsoe that the display of the tattoo would require additional

compensation.

       136.     Upon information and belief, prior to 2015, Mr. Cornett never asserted that

display of Mr. Bledsoe’s tattoos required a license or permission from Mr. Cornett.

       137.     Upon information and belief, Mr. Cornett knew that Mr. Martin was a basketball

player when he inked “Wizard.”

       138.     Upon information and belief, at that time, Mr. Cornett knew that Mr. Martin

likely would attempt to commercialize his likeness.

       139.     Upon information and belief, when Mr. Cornett inked “Wizard,” he did not

inform Mr. Martin that the display of the tattoo would require additional compensation.

       140.     Upon information and belief, prior to 2015, Mr. Cornett never asserted that

display of Mr. Martin’s tattoos required a license or permission from Mr. Cornett.

THE INCLUSION OF THE TATTOOS IN NBA 2K

       141.     Counterclaimants depict NBA players realistically in NBA 2K, including Messrs.

Bledsoe, James, and Martin.




                                              - 29 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 30 of 40



       142.    Counterclaimants also have realistically depicted the Tattoos.

       143.    The following images depict how the Tattoos appear in NBA 2K16 if a user chose

to zoom in on a particular player:




                    Eric Bledsoe                                    LeBron James




                   Kenyon Martin

       144.    To play NBA 2K16, users generally play with the basketball court and other

players visible.

       145.    The Tattoos appear only fleetingly within NBA 2K.

       146.    Mr. James has multiple tattoos, and the Tattoos inked on him are not emphasized

in NBA 2K16 any more than any of his other tattoos.

       147.    Mr. Martin has multiple tattoos, and the Tattoo inked on him is not emphasized in

NBA 2K16 any more than any of his other tattoos.



                                              - 30 -
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 31 of 40



        148.    Mr. Bledsoe has multiple tattoos, and the Tattoo inked on him is not emphasized

in NBA 2K16 any more than any of his other tattoos.

        149.    The Tattoos are not given any more prominence in NBA 2K16 than the tattoos on

any of the other players depicted in the video game.

        150.    Upon information and belief, none of the tattooists of tattoos other than those at

issue in this litigation has asserted a right to compensation for their tattoos being used in NBA

2K16.

        151.    There is no time during gameplay that Counterclaimants cause NBA 2K to zoom

in on the Tattoos.

        152.    The Tattoos, at any given moment in which they are visible, constitute only a

negligible part of the overall scene depicted in the NBA 2K games.

        153.    In NBA 2K16, the Tattoos are depicted on the players on which they are inked in

real life.

        154.    In NBA 2K16, when the Tattoos appear in the context of a fictional basketball

game, the players on which they are inked, an audience, an arena, a basketball, and other aspects

of NBA 2K16’s gameplay also appear.

        155.    While Counterclaimants include the Tattoos as part of the players’ likenesses, at

no point does the NBA 2K16 depict the Tattoos in a manner other than on the players on whom

they are inked in real-life.

        156.    Counterclaimants do not depict the Tattoos other than as part of the players’

likenesses.

        157.    Counterclaimants do not sell merchandise depicting the Tattoos without the player

on which they are inked.



                                               - 31 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 32 of 40



         158.   Counterclaimants do not sell decals of the Tattoos.

         159.   Counterclaimants do not depict the Tattoos on fictional characters.

         160.   Counterclaimants have not highlighted the inclusion of the Tattoos in marketing

for NBA 2K16.

         161.   The covers of NBA 2K16 do not depict the Tattoos.

         162.   As shown below, the covers of NBA 2K16 do not include any of the players on

which the Tattoos were inked. Rather, they depict James Harden, Stephen Curry, and Anthony

Davis:




         163.   As shown below, the ads displayed on websites and in various publications

advertising NBA 2K16 depict the same players:




                                               - 32 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 33 of 40




       164.   The ads for NBA 2K16 do not include any of the players on which the Tattoos

were inked.

       165.   The ads for NBA 2K16 do not depict the Tattoos.

       166.   None of the ads for NBA 2K16 discuss the Tattoos.

       167.   None of the ads for NBA 2K16 mention any real-world tattoos that appear on the

players in the video game.

       168.   Upon information and belief, no consumers of Counterclaimants’ games have

purchased NBA 2K16 to acquire copies of the Tattoos.

       169.   Counterclaimants’ profits and revenues are not a direct consequence of including

the Tattoos in NBA 2K.



                                            - 33 -
      Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 34 of 40



SOLID OAK

        170.    Solid Oak claims to be an exclusive licensee to copyrights in the Tattoos.

        171.    Solid Oak did not create the Tattoos.

        172.    Solid Oak sought to register the Tattoos with the U.S. Copyright Office.

        173.    Originally, Solid Oak attempted to register each of the Tattoos with Chosen1 LLC

(the prior name of its company) as the copyright claimant. After filing its application but before

they issued, Solid Oak requested that its copyright application be amended to list the copyright

claimants for the Tattoos as Shawn Rome, Justin Wright, and Tommy Ray Cornett.

        Solid Oak’s Owner

        174.    Upon information and belief, Solid Oak is owned by Matthew Siegler.

        175.    Upon information and belief, Solid Oak has no employees other than Mr. Siegler.

        176.    Mr. Siegler is not a tattooist.

        177.    Mr. Siegler did not create the Tattoos.

        178.    Mr. Siegler was not present when the Tattoos were created.

        179.    Instead, Mr. Siegler sees the Tattoos as a business opportunity.

        180.    Upon information and belief, Mr. Siegler has stated that he developed “big plans”

for what he saw as an easy payout.3

        181.    Mr. Siegler bought certain rights to the Tattoos to make money.

        Solid Oak’s Lack of Licensing of the Tattoos

        182.    Upon information and belief, Solid Oak has not commercialized the Tattoos.

        183.    Upon information and belief, Solid Oak has never licensed to any other party the

ability to ink the Tattoos on other people.


3
    See http://www.forbes.com/sites/darrenheitner/2013/10/02/exclusive-licensee-of-lebron-james-and-kobe-
    bryant-tattoo-artwork-preps-to-profit-off-of-images/.

                                                    - 34 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 35 of 40



       184.    Upon information and belief, Solid Oak has never licensed to any other party the

ability to include the Tattoos in another work.

       185.    Upon information and belief, Solid Oak did not license the depiction of the

Tattoos in campaigns or photographs discussed in Paragraphs 100 through 121 of these

Counterclaims.

       186.    Upon information and belief, Solid Oak has never sold merchandise depicting the

Tattoos.

       187.    Upon information and belief, Solid Oak has not entered into licenses with Mr.

Bledsoe, Mr. James, or Mr. Martin related to the right to depict their Tattoos.

       188.    Upon information and belief, Solid Oak has not entered into licenses with Mr.

Bledsoe, Mr. James, or Mr. Martin related to the right to depict their likenesses.

       189.    Upon information and belief, Solid Oak has not entered into licenses with Mr.

Bledsoe, Mr. James, or Mr. Martin related to their trademark rights.

       190.    Upon information and belief, Solid Oak has not entered into licenses with any

NBA teams related to the right to depict any NBA trademarks.

       191.    Upon information and belief, no party has ever sought a license from Solid Oak to

use the Tattoos.

       192.    Upon information and belief, Solid Oak has never created, or contributed to the

creation of, a video game depicting the Tattoos.

       193.    Upon information and belief, Solid Oak has never licensed a video game

depicting the Tattoos.

       Solid Oak’s Attempt to Extract Monies from Take-Two

       194.    Solid Oak has tried to make money off of the Tattoos by attempting to extract

payment from Take-Two and ultimately by bringing this lawsuit.

                                                  - 35 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 36 of 40



        195.    To that end, on July 8, 2015, Michael Kahn of Capes Sokol Goodman Sarachan

P.C. sent Daniel Emerson, Executive Vice President and General Counsel of Take-Two, a letter,

claiming that Mr. Kahn’s firm represented “a group of tattoo artists” and that Counterclaimants

were infringing the artists’ copyrights in various NBA players’ tattoos by including them in NBA

2K video games.

        196.    In a follow-up letter on July 28, 2015, Mr. Kahn made clear that the tattooists

were seeking $819,500 “for the prior unauthorized reproductions, displays, and public

disseminations” of eight tattoos listed in his letter.

                                    FIRST COUNTERCLAIM

                            Declaratory Judgment of De Minimis Use
                                   (28 U.S.C. § 2201 et. seq.)

        197.    Counterclaimants repeat and reallege the allegations set forth in the foregoing

paragraphs as if fully set forth herein.

        198.    NBA 2K16 is a video game that includes many components, including graphics,

characters, a fictitious plot, gameplay, music, and graphics.

        199.    The Tattoos are only one of many components of NBA 2K16.

        200.    NBA 2K16 includes other tattoos beyond the Tattoos at issue in this litigation.

        201.    NBA 2K16 includes an entire virtual world.

        202.    The Tattoos are observable only fleetingly in NBA 2K16.

        203.    The Tattoos are displayed only briefly in NBA 2K16.

        204.    When they are displayed, the Tattoos are a small part of the graphical display of

NBA 2K16.

        205.    The Tattoos are sometimes obscured by other graphics displayed in NBA 2K16.

        206.    The Tattoos are not displayed prominently in NBA 2K16.


                                                 - 36 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 37 of 40



       207.    The Tattoos are sometimes displayed out of focus.

       208.    Counterclaimants’ inclusion of the Tattoos constitutes de minimis use.

                                  SECOND COUNTERCLAIM

                                Declaratory Judgment of Fair Use
                                    (28 U.S.C. § 2201 et. seq.)

       209.    Counterclaimants repeat and reallege the allegations set forth in the foregoing

paragraphs as if fully set forth herein.

       210.    Counterclaimants are not creating, distributing, or marketing tattoos; they are

creating, distributing, and marketing video games.

       211.    NBA 2K16 is an imaginative, creative work that allows users to play basketball in

fictional worlds with real and fictional players.

       212.    It includes all aspects of NBA basketball, including arenas, audiences, hoops,

basketballs, commentators, cheers, and the likenesses of NBA players.

       213.    It includes the creative output of various individuals, including Spike Lee.

       214.    It reflects numerous creative choices made by those individuals.

       215.    NBA 2K16 realistically depicts the real world players that appear in the otherwise

fictional video game.

       216.    In depicting NBA players’ likenesses, NBA 2K16 also includes each players’

actual tattoos, visible only fleetingly during gameplay.

       217.    As part of the creativity of NBA 2K16, the video game uses real world players

with permission to allow the game’s users to play fantasy games using real and fictional NBA

players as their characters.

       218.    The depiction of NBA players as they appear in real life serves as a biographical

anchor for NBA 2K16.


                                                - 37 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 38 of 40



         219.   Counterclaimants’ inclusion of players’ tattoos as merely minor features of their

likenesses—used in order to depict the players accurately, and not as separable items for sale

within or separately from the game—is a fair use under 17 U.S.C. § 107.

         220.   Counterclaimants add new context to the Tattoos.

         221.   NBA 2K16 does not show the Tattoos divorced from the bodies on which they are

inked.

         222.   The Tattoos appear on the real world players that bear them as part of a larger

work that includes other graphics (such as team jerseys basketball arenas, background

characters) and sounds.

         223.   When they appear, the Tattoos are shown in motion as one element of a fictional

basketball game.

         224.   The market for tattoos and the market for basketball video games do not intersect.

         225.   NBA 2K16 is not a substitute for the Tattoos.

         226.   Counterclaimants’ inclusion of the Tattoos does not interfere with any market

Solid Oak may have to commercialize the Tattoos.

         227.   Because a fair use is by definition a non-infringing use, Solid Oak’s permission

was not needed for Counterclaimants to include players’ tattoos in the NBA 2K games, and Solid

Oak may not block the marketing or sale of NBA 2K.

                                   THIRD COUNTERCLAIM

                   Declaratory Judgment of Fraud on the Copyright Office
                                 (28 U.S.C. § 2201 et. seq.)

         228.   Counterclaimants repeat and reallege the allegations set forth in the foregoing

paragraphs as if fully set forth herein.




                                               - 38 -
     Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 39 of 40



       229.    The copyright registration for the tattoo titled “Lion’s Head Tattoo Artwork”

(Reg. No. VA1971674) was improperly obtained because a specimen was submitted of a work

that Shawn Rome, the claimed author, did not create on the listed creation date of 2000. This

knowing failure to disclose the actual deposit to the Copyright Office constitutes fraud on the

U.S. Copyright Office as the proper specimen was required to be submitted reflecting the actual

work Mr. Rome allegedly authored on that creation date.

       230.    Upon information and belief, had the Copyright Office known that the deposit did

not reflect the work that was being registered, it would not have issued the certificate of

registration for “Lion’s Head Tattoo Artwork.”

       231.    As a result, Counterclaimants request that this Court declare that the Lion’s Head

Tattoo Artwork registration was obtained through fraud, and thus the Tattoo is not subject to

copyright protection, and order Solid Oak to take steps to have the registration cancelled by the

U.S. Copyright Office.

       232.    By reason of the foregoing, there now exists between the parties an actual and

justiciable controversy concerning Solid Oak’s and Counterclaimants’ respective rights and

obligations to the use of the Lion’s Head Tattoo Artwork, requiring declaratory relief.

       233.    The aforesaid declaration is necessary and appropriate at this time to affirm

Counterclaimants’ right to continue to make use of the Lion’s Head Tattoo Artwork.

       234.    Counterclaimants have no adequate remedy at law.

       235.    Accordingly, Counterclaimants seek, pursuant to 28 U.S.C. §§ 2201 and 2202, a

judgment from this Court that the copyright registration is invalid and should be cancelled.

                                    PRAYER FOR RELIEF

       WHEREFORE, Counterclaimants Take-Two and 2K respectfully request judgment

against Counter-Defendant Solid Oak as follows:

                                               - 39 -
    Case 1:16-cv-00724-LTS-SDA Document 47 Filed 08/16/16 Page 40 of 40



      A.     Deny Solid Oak all relief requested in its Amended Complaint in this action and

             dismiss Solid Oak’s First Amended Complaint with prejudice;

      B.     Declare that Counterclaimants’ use of the Tattoos is a de minimis use;

      C.     Declare that Counterclaimants’ use of the Tattoos is a fair use;

      D.     Declare that fraud on the Copyright Office was committed in registering the

             Lion’s Head Tattoo Artwork;

      E.     Order Solid Oak to cancel the registration for the Lion’s Head Tattoo Artwork;

      F.     Grant an award of Counterclaimants’ costs and disbursements in this action,

             including reasonable attorney’s fees pursuant to 17 U.S.C. § 505; and

      G.     Grant such other, further and different relief as the Court deems just and proper.

                               DEMAND FOR JURY TRIAL

      Defendants demand a trial by jury on all issues so triable in this action.

Dated: New York, New York
       August 16, 2016                           /s/ Dale M. Cendali
                                                 Dale M. Cendali
                                                 Joshua L. Simmons
                                                 KIRKLAND & ELLIS LLP
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                                                 Attorneys for Defendants




                                              - 40 -
